                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE




STATE OF TENNESSEE,

                 Plaintiff,                     No. 3:23-cv-00384-TRM-JEM

        v.

XAVIER BECERRA, in his official
capacity as Secretary of Health and Human
Services, et al.,

                 Defendants.


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